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AMENDED-~-CIVIL COMPLAINT FORM TO BE USED BY A PRO SE PRISONER

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ALITO TIJWAN CROSS 34517-0057 . ’

 

 

Full Name of Plaintiff Inmate Number
CivilNo. 1:22-CV-98
Vv. : (to be filled in by the Clerk’s Office)
DOCTOR BUSCHMAN : (___) Demand for Jury Trial
Name of Defendant 1 : (X_) No Jury Trial Demand

PHYSICIAN'S ASSISTANT WICKHAM
Name of Defendant 2

 

H. QUAY :
Name of Defendant 3 : apf ED

SCRANTON

 

 

 

Name of Defendant 4

SEP 1 2 woe?
LZ.

 

 

 

Name of Defendant 5

(Print the names of all defendants. If the names of all
defendants do not fit in this space, you may attach
additional pages. Do not include addresses in this

section).

1. NATURE OF COMPLAINT
Indicate below the federal legal basis for your claim, if known.
Civil Rights Action under 42 U.S.C. § 1983 (state, county, or municipal defendants)

xX Civil Rights Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388
(1971) (federal defendants)

Negligence Action under the Federal Tort Claims Act (FTCA), 28 U.S.C. § 1346, against the
United States

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I. ADDRESSES AND INFORMATION

A. - PLAINTIFF
CROSS, ALITO, TIJWAN

 

Name (Last, First, MI)
34517-057

 

Inmate Number

UNITED STATES PENITENTIARY ALLENWOOD

Place of Confinement

POST OFFICE BOX 3500

Address

WHITE DEER, UNION » PENNSYLVANIA 17887

 

City, County, State, Zip Code

Indicate whether you are a prisoner or other confined person as follows:
Pretrial detainee .

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner

xX Convicted and sentenced federal prisoner

B. DEFENDANT(S)
Provide the information below for each defendant. Attach additional pages if needed.

Make sure that the defendant(s) listed below are identical to those contained in the caption. If
incorrect information is provided, it could result in the delay or prevention of service of the
complaint.

Defendant 1:

BUSCHMAN, F.N.U.

Name (Last, First)

PHYSEGEAN 7.07.

Current Job Title

FEDERAL CORRECTIONAL COMPLEX ALLENWOOD

Current Work Address

WHITE DEER, UNION, PENNSYLVANTA 17887

City, County, State, Zip Code

 

 

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Defendant 2:

WICKHAM, F.N.U.

Name (Last, First)

PHYSICIAN'S ASSISTANT

Current Job Title

FEDERAL CORRECTIONAL COMPLEX ALLENWOOD
Current Work Address

WHITE DEER, UNION, PENNSYLVANIA 17887
City, County, State, Zip Code

Defendant 3:
QUAY, H.

 

Name (Last, First)
FORMER WARDEN
Current Job Title
RETIRED

Current Work Address

 

City, County, State, Zip Code

Defendant 4:

 

Name (Last, First)

 

Current Job Title

 

Current Work Address

 

City, County, State, Zip Code

Defendant 5:

 

Name (Last, First)

 

Current Job Title

 

Current Work Address

 

City, County, State, Zip Code
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Il. STATEMENT OF FACTS

State only the facts of your claim below. Include all the facts you consider important. Attach additional
pages if needed.

A. Describe where and when the events giving rise to your claim(s) arose.
At United States Penitentiary Allenwood on the Transitional

Care Unit beginning in approximately February 2021 up until

and including this date

B. On what date did the events giving rise to your claim(s) occur?

Approximately September and October 2021

 

C. What are the facts underlying your claim(s)? (For example: What happened to you?
Who did what?)

The defendant's deliberate indifference to my Type 2 diabetes

has caused me to go through low sugar episodes and lose consciousness
on 4 occasions.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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IV. LEGAL CLAIM(S)

You are not required to make legal argument or cite any cases or statutes. However, state what
constitutional rights, statutes, or laws you believe were violated by the above actions. If you intend to
assert multiple claims, number and set forth each claim in separate paragraphs. Attach additional pages if
needed.

To show such deliberate indifference, I. must establish two

 

elements. First, I must show a "serious medical need" by demon-

 

strating that failure to treat a medical condition could result

 

in significant further injury or the "unnecessary and wanton

 

infliction of pain." Second, I must show that the prison officials

 

were aware of failed to respond to-ymy*-pain and medical needs,

 

and that I suffered some harm because of that failure.

 

 

Tt took defendant "1'13 months to treat my medical condition
subsequent to being informed of me losing consciousness on 4
occasions during the 13 month period. The United States Supreme
Court has consistently held that consciously ignoring a prisoner's

serious medical needs amounts to Cruel and Unusual Punishment in
violation of the Righth Amendment to the United States Constitution.

 

Vv. INJURY

Describe with specificity what injury, harm, or damages you suffered because of the events described
above.

I have loss consciousness on 4 occasions. My life was placed

in danger. My vision is impaired and I have sevére:mental=stmess.

VI. RELIEF

State exactly what you want the court to do for you. For example, you may be seeking money damages,
you may want the court to order a defendant to do something or stop doing something, or you may be
seeking both types of relief. If you are seeking monetary relief, state your request generally. Do not
request a specific amount of money.

MONETARY DAMAGES.

 

 

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VII «SIGNATURE

By signing this complaint, you represent to the court that the facts alleged are true to the best of your
knowledge and are supported by evidence, that those facts show a violation of law, and that you are not
filing this complaint to harass another person or for any other improper purpose.

Local Rule of Court 83.18 requires pro se plaintiffs to keep the court informed of their current address. If
your address changes while your lawsuit is being litigated, you must immediately inform the court of the
change in writing. By signing and submitting the complaint form, you agree to provide the Clerk’s Office
with any changes to your address where case-related papers may be served, and you acknowledge that
your failure to keep a current address on file with the Clerk’s Office may result in dismissal of your case.

JU AK. Lao

Signature of Plaintiff

20° ZOZ2

Date

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